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Dear Mr. Ayyadurai:



  NBC10 Boston, Telemundo Boston, necn, the Boston Globe, WBUR, UMass Boston’s
McCormack Graduate School and the John F. Kennedy Library Foundation are proposing a live,
televised debate this fall in the campaign for the United States Senate.

 We are planning a televised debate from seven to eight pm, before a live audience, to be
broadcast from the John F. Kennedy Presidential Library. The moderator will be Chuck Todd of
NBC’s “Meet the Press.” The candidates will be questioned by him and representatives of the
two other news organizations.

 WBUR, the Globe, and the McCormack Graduate School at UMass Boston are the same
partnership that hosted live debates on the four ballot questions in 2016, conversations with
the Boston mayoral candidates last year, and three debates and several formal interviews this
year, all broadcast live on WBUR. For this debate, NBC10 Boston, Telemundo Boston, necn, and
the Kennedy Library Foundation have been added to the partnership.

 The debate will be broadcast live on NBC 10, Telemundo Boston and necn, as well as WBUR. It
will be live-streamed online at UMB.com, WBUR.com, BostonGlobe.com, jfklibrary.org, and
Boston.com. Telemundo Boston will broadcast with simultaneous translation into Spanish.

 We have reserved the large Smith Hall room at the JFK Library for Monday, October 15.

 Our aim is to make this one of the most significant landmarks in the campaign – an event that
will prove valuable to candidates and voters alike.

  If your candidacy achieves a significant level of support, we invite you to participate. We will
gauge that support by looking at three statewide opinion polls conducted by reputable news
organizations or academic institutions prior to October 1, and average their figures. The
threshold will be 15 percent of respondents supporting you – the same level of support used by
both parties’ endorsing conventions to determine primary ballot access.

  Please let us know by September 7 if you would like to participate. We will work closely with
the campaigns.

/s/ David Cash, dean, McCormack Graduate School of Policy and Global Studies, UMass Boston

    Shira Center, political editor, The Boston Globe
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Tom Melville, executive news director, WBUR

Ben Dobson, Vice President of News, NBC10 Boston, Telemundo Boston, necn

Steven Rothstein, executive director, John F. Kennedy Library Foundation
